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         EXHIBIT A
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                      SUMMARY OF UNPAID INVOICES

    Invoice No.         Invoice Date            P.O. No.            Invoice Amt.
SR0115                    1/15/2015            0000009781               $231,320.51
SR0215                    2/13/2015            0000009781               $224,709.96
SR0315                    3/16/2015            0000009781               $231,294.25
SR0415A                   4/10/2015            0000009781                 $68,014.56
Sub-Total         Applications/Mainframe                                $755,339.28
SR0215L1                  2/13/2015            0000010148                 $12,920.00
SR0415L1                  4/10/2015            0000010148                 $10,792.00
Sub-Total          Billable Project Hours                                 $23,712.00
H150106011                1/10/2015            0063000300                  $9,720.21
H150205011                2/10/2015            0063000300                  $9,721.51
H150305011                3/10/2015            0063000300                  $9,721.54
H150406011A               4/10/2015            0063000300                  $3,763.45
Sub-Total              Cloud Services                                     $32,926.71
GRAND TOTAL                                                             $811,977.99
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CSC                                                                               I N V O I C E

CSC Corporate Headquarters
3170 Fairview Park Drive
Falls Church, VA 22042                                                      Invoice Number: SR0115
Deborah Bronson                                                               Invoice Date: 1/15/2015
(860) 425-6215

To: Attn: Bobbi Shreve                                      Remit To:      CSC - Americas Outsourcing
      Standard Register                                                    Lockbox # 52298
      600 Albany Street                                                    P.O. Box 8500
      Dayton, OH 45417-3405                                                Philadelphia, PA 19178


          TERMS:         Due 45 Days Upon Receipt of Invoice             P.O. # 0000009781


      Standard Register Outsourcing Services for the
      Period covering December 2014

         Applications Baseline                                                                     $41,787.25




         Mainframe Charges:
         Basic Mainframe Charge                                                                   $163,845.19
         SRC Charge Code: SRC01-82500-10-2255

         Baseline GB's Transferred                                                $14,127.77

         Baseline DASD                                                             $2,878.11
         SRC Charge Code: SRC01-82500-10-2255

         ARC/RRC DASD                                                               $563.95

         ARC/RRC GBs Transferred                                                   $8,118.25




                         Total Mainframe ARC/RCCs                                                  $25,688.07

                         Mainframe Sub Total                                                      $189,533.26

         SRC Charge Code: SRC01-82580-10-2255




TOTAL TECHNICAL OPERATIONS                                                                        $231,320.51
         Late Charges of 1% Per Month Will Be Charged To
         Invoices Not Paid By the Due Date.
                                                                ORIGINAL
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CSC                                                                               I N V O I C E

CSC Corporate Headquarters
3170 Fairview Park Drive
Falls Church, VA 22042                                                      Invoice Number: SR0215
Deborah Bronson                                                               Invoice Date: 2/13/2015
(860) 425-6215

To: Attn: Bobbi Shreve                                      Remit To:      CSC - Americas Outsourcing
      Standard Register                                                    Lockbox # 52298
      600 Albany Street                                                    P.O. Box 8500
      Dayton, OH 45417-3405                                                Philadelphia, PA 19178


          TERMS:         Due 45 Days Upon Receipt of Invoice             P.O. # 0000009781


      Standard Register Outsourcing Services for the
      Period covering January 2015

         Applications Baseline                                                                     $41,787.25




         Mainframe Charges:
         Basic Mainframe Charge                                                                   $163,845.19
         SRC Charge Code: SRC01-82500-10-2255

         Baseline GB's Transferred                                                $14,127.77

         Baseline DASD                                                             $2,878.11
         SRC Charge Code: SRC01-82500-10-2255

         ARC/RRC DASD                                                               $558.23

         ARC/RRC GBs Transferred                                                   $1,513.40




                         Total Mainframe ARC/RCCs                                                  $19,077.52

                         Mainframe Sub Total                                                      $182,922.71

         SRC Charge Code: SRC01-82580-10-2255




TOTAL TECHNICAL OPERATIONS                                                                        $224,709.96
         Late Charges of 1% Per Month Will Be Charged To
         Invoices Not Paid By the Due Date.
                                                                ORIGINAL
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CSC                                                                               I N V O I C E

CSC Corporate Headquarters
3170 Fairview Park Drive
Falls Church, VA 22042                                                      Invoice Number: SR0315
Deborah Bronson                                                               Invoice Date: 3/16/2015
(860) 425-6215

To: Attn: Bobbi Shreve                                      Remit To:      CSC - Americas Outsourcing
      Standard Register                                                    Lockbox # 52298
      600 Albany Street                                                    P.O. Box 8500
      Dayton, OH 45417-3405                                                Philadelphia, PA 19178


          TERMS:         Due 45 Days Upon Receipt of Invoice             P.O. # 0000009781


      Standard Register Outsourcing Services for the
      Period covering February 2015

         Applications Baseline                                                                     $41,787.25




         Mainframe Charges:
         Basic Mainframe Charge                                                                   $163,845.19
         SRC Charge Code: SRC01-82500-10-2255

         Baseline GB's Transferred                                                $14,127.77

         Baseline DASD                                                             $2,878.11
         SRC Charge Code: SRC01-82500-10-2255

         ARC/RRC DASD                                                               $549.43

         ARC/RRC GBs Transferred                                                   $8,106.50




                         Total Mainframe ARC/RCCs                                                  $25,661.81

                         Mainframe Sub Total                                                      $189,507.00

         SRC Charge Code: SRC01-82580-10-2255




TOTAL TECHNICAL OPERATIONS                                                                        $231,294.25
         Late Charges of 1% Per Month Will Be Charged To
         Invoices Not Paid By the Due Date.
                                                                ORIGINAL
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CSC                                                                                I N V O I C E

CSC Corporate Headquarters
3170 Fairview Park Drive
Falls Church, VA 22042                                                         Invoice Number: SR0415A
Deborah Bronson                                                                  Invoice Date: 4/10/2015
(860) 425-6215

To: Attn: Bobbi Shreve                                       Remit To:         CSC - Americas Outsourcing
      Standard Register                                                        Lockbox # 52298
      600 Albany Street                                                        P.O. Box 8500
      Dayton, OH 45417-3405                                                    Philadelphia, PA 19178


          TERMS:         Due 45 Days Upon Receipt of Invoice             P.O. # 0000009781


      Standard Register Outsourcing Services for the
      Period covering February 28th through March 12th, 2015

      Invoiced amounts are prorated from 35 days of March 2015 fiscal period

         Prorated Applications Baseline                                                                $15,520.89




         Mainframe Charges:
         Prorated Basic Mainframe Charge                                                               $43,230.57
         SRC Charge Code: SRC01-82500-10-2255

         Prorated Baseline GB's Transferred                                         $6,629.69

         Prorated Baseline DASD                                                       $645.97
         SRC Charge Code: SRC01-82500-10-2255

         Prorated ARC/RRC DASD                                                        $193.08

         Prorated ARC/RRC GBs Transferred                                           $1,794.36




                         Total Prorated Mainframe ARC/RCCs                                              $9,263.10

                         Prorated Mainframe Sub Total                                                  $52,493.67

         SRC Charge Code: SRC01-82580-10-2255




TOTAL TECHNICAL OPERATIONS                                                                             $68,014.56
         Late Charges of 1% Per Month Will Be Charged To
         Invoices Not Paid By the Due Date.
                                                               ORIGINAL
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CSC                                                                                       I N V O I C E

CSC Corporate Headquarters
3170 Fairview Park Drive
Falls Church, VA 22042                                                                Invoice Number: SR0215L1
Deborah Bronson                                                                         Invoice Date: 2/13/2015
(860) 425-6215

To: Attn: Bobbi Shreve                                            Remit To:           CSC - Americas Outsourcing
      Standard Register                                                               Lockbox # 52298
      600 Albany Street                                                               P.O. Box 8500
      Dayton, OH 45417-3405                                                           Philadelphia, PA 19178


          TERMS:         Due 45 Days Upon Receipt of Invoice                     PO # 0000010148


      STANDARD REGISTER BILLABLE PROJECT HOURS
      Period from November through December 2014

      November 2014

         Project                                                     Billable hours             Rate            Amount
         Plant Additions - Cranbury, Grove City and Stanfast LA                24.0           $76.00           $1,824.00
         Livermore Plan addition support                                       24.0           $76.00           $1,824.00
         Migration of HoD users to new version                                   18           $76.00           $1,368.00
         Global Storage order purge                                             4.0           $76.00             $304.00
         Invoice print files                                                    8.0           $76.00             $608.00
         Subtotal                                                              78.0                            $5,928.00

      December 2014

         Project                                                     Billable hours             Rate            Amount
         Plant Additions - Cranbury, Grove City and Stanfast LA                20.0           $76.00           $1,520.00
         Plant Additions - Cranbury, Grove City and Stanfast LA                20.0           $76.00           $1,520.00
         Migration of HoD users to new version                                 52.0           $76.00           $3,952.00
         Subtotal                                                              92.0                            $6,992.00

         Total billable hours                                                 170.0           $76.00          $12,920.00




TOTAL INVOICE DUE:                                                                                            $12,920.00
         Late Charges of 1% Per Month Will Be Charged To
         Invoices Not Paid By the Due Date.
                                                                   ORIGINAL
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CSC                                                                                        I N V O I C E

CSC Corporate Headquarters
3170 Fairview Park Drive
Falls Church, VA 22042                                                                Invoice Number: SR0415L1
Deborah Bronson                                                                         Invoice Date: 4/10/2015
(860) 425-6215
To: Standard Register                                             Remit To:           CSC - Americas Outsourcing
       600 Albany Street                                                              Lockbox # 52298
       Dayton, OH 45417-3405                                                          P.O. Box 8500
                                                                                      Philadelphia, PA 19178


          TERMS:           Due 45 Days Upon Receipt of Invoice                   PO # 0000010148


      STANDARD REGISTER BILLABLE PROJECT HOURS
      Period from January through March 12th 2015

      January 2015

          Project                                                    Billable hours             Rate            Amount
          Invoice Print Project                                                 8.0           $76.00             $608.00
          HoD Migration                                                        58.0           $76.00           $4,408.00
          Plant addition                                                       16.0           $76.00           $1,216.00
          Subtotal                                                             82.0                            $6,232.00

      Ferbuary 2015

          Project                                                    Billable hours             Rate            Amount
          HoD Migration                                                        40.0           $76.00           $3,040.00
          Plant addition                                                        8.0           $76.00             $608.00
          Subtotal                                                             48.0                            $3,648.00

      March 2015 (until 12th)

          Project                                                    Billable hours             Rate               Amount
          HoD Migration                                                        12.0           $76.00               $912.00
          Subtotal                                                             12.0                                $912.00




          Total billable hours                                                142.0           $76.00          $10,792.00




TOTAL INVOICE DUE:                                                                                            $10,792.00
         Late Charges of 1% Per Month Will Be Charged To
         Invoices Not Paid By the Due Date.
                                                                   ORIGINAL
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                                                      Invoice

Invoice Date: 01/10/2015                                                                        Invoice: H150106011

                                                                                Payment Due 30 days from Invoice Date
Account Number: C76228A
PO Number: 0063000300                                                                   Check Remittance Address:
                                                                                            Wells Fargo Bank, N. A.
The Standard Register Company                                                          Computer Sciences Corporation
600 Albany Street                                                                            Attn: Lockbox # 52298
DAYTON, OH 45408                                                                                     P.O. Box 8500
                                                                                             Philadelphia, PA 19178

                                                                                         Wire Transfer Information:
                                                                                             Wells Fargo Bank, N. A.
Inquiries/Customer Service:                                                                        ABA # 121000248
1-877-366-3345                                                                    Attn: Computer Sciences Corporation
cscmanagedhosting@csc.com                                                                     Acct # 2000010397329




                                                Invoice Summary

       Total New Charges (including Adjustments)                                          $9,720.21


       Adjustments                                                                            $0.00
       Total New Charges                                                                  $9,720.21
         Non-recurring Charges                                                                $0.00
         Recurring Charges                                                                $9,080.76
         Usage Charges                                                                        $4.73
         Taxes                                                                             $634.72




                                      New Charges Detail by Service
       Hosting Services                                                                    $159.17
       Managed Security Services                                                              $0.00
       Network Services                                                                       $0.00
       Remote Access Services                                                                 $0.00
       Cloud Services                                                                     $9,561.04
       Telecom Expense Management Services                                                    $0.00




   *** Please see additional tabs for more details.




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                                                      Invoice

Invoice Date: 02/10/2015                                                                         Invoice: H150205011

                                                                                 Payment Due 30 days from Invoice Date
Account Number: C76228A
PO Number: 0063000300                                                                    Check Remittance Address:
                                                                                             Wells Fargo Bank, N. A.
The Standard Register Company                                                           Computer Sciences Corporation
600 Albany Street                                                                             Attn: Lockbox # 52298
DAYTON, OH 45408                                                                                      P.O. Box 8500
                                                                                              Philadelphia, PA 19178

                                                                                          Wire Transfer Information:
                                                                                              Wells Fargo Bank, N. A.
Inquiries/Customer Service:                                                                         ABA # 121000248
1-877-366-3345                                                                     Attn: Computer Sciences Corporation
cscmanagedhosting@csc.com                                                                      Acct # 2000010397329




                                                Invoice Summary

       Total New Charges (including Adjustments)                                           $9,721.51


       Adjustments                                                                             $0.00
       Total New Charges                                                                   $9,721.51
         Non-recurring Charges                                                                 $0.00
         Recurring Charges                                                                 $9,080.76
         Usage Charges                                                                         $6.03
         Taxes                                                                              $634.72




                                      New Charges Detail by Service
       Hosting Services                                                                     $160.47
       Managed Security Services                                                               $0.00
       Network Services                                                                        $0.00
       Remote Access Services                                                                  $0.00
       Cloud Services                                                                      $9,561.04
       Telecom Expense Management Services                                                     $0.00




   *** Please see additional tabs for more details.




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                                                      Invoice

Invoice Date: 03/10/2015                                                                         Invoice: H150305011

                                                                                 Payment Due 30 days from Invoice Date
Account Number: C76228A
PO Number: 0063000300                                                                    Check Remittance Address:
                                                                                             Wells Fargo Bank, N. A.
The Standard Register Company                                                           Computer Sciences Corporation
600 Albany Street                                                                             Attn: Lockbox # 52298
DAYTON, OH 45408                                                                                      P.O. Box 8500
                                                                                              Philadelphia, PA 19178

                                                                                          Wire Transfer Information:
                                                                                              Wells Fargo Bank, N. A.
Inquiries/Customer Service:                                                                         ABA # 121000248
1-877-366-3345                                                                     Attn: Computer Sciences Corporation
cscmanagedhosting@csc.com                                                                      Acct # 2000010397329




                                                Invoice Summary

       Total New Charges (including Adjustments)                                           $9,721.54


       Adjustments                                                                             $0.00
       Total New Charges                                                                   $9,721.54
         Non-recurring Charges                                                                 $0.00
         Recurring Charges                                                                 $9,080.76
         Usage Charges                                                                         $6.06
         Taxes                                                                              $634.72




                                      New Charges Detail by Service
       Hosting Services                                                                     $160.50
       Managed Security Services                                                               $0.00
       Network Services                                                                        $0.00
       Remote Access Services                                                                  $0.00
       Cloud Services                                                                      $9,561.04
       Telecom Expense Management Services                                                     $0.00




   *** Please see additional tabs for more details.




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                                                      Invoice

Invoice Date: 04/10/2015                                                                       Invoice: H150406011A

                                                                                 Payment Due 30 days from Invoice Date
Account Number: C76228A
PO Number: 0063000300                                                                    Check Remittance Address:
                                                                                             Wells Fargo Bank, N. A.
The Standard Register Company                                                           Computer Sciences Corporation
600 Albany Street                                                                             Attn: Lockbox # 52298
DAYTON, OH 45408                                                                                      P.O. Box 8500
                                                                                              Philadelphia, PA 19178

                                                                                          Wire Transfer Information:
                                                                                              Wells Fargo Bank, N. A.
Inquiries/Customer Service:                                                                         ABA # 121000248
1-877-366-3345                                                                     Attn: Computer Sciences Corporation
cscmanagedhosting@csc.com                                                                      Acct # 2000010397329




                                                Invoice Summary

       Total New Charges (including Adjustments)                                           $3,763.45


       Adjustments                                                                             $0.00
       Total New Charges                                                                   $3,763.45
         Non-recurring Charges                                                                 $0.00
         Recurring Charges                                                                 $3,515.13
         Usage Charges                                                                         $2.62
         Taxes                                                                              $245.70




                                      New Charges Detail by Service
       Hosting Services                                                                       $62.40
       Managed Security Services                                                               $0.00
       Network Services                                                                        $0.00
       Remote Access Services                                                                  $0.00
       Cloud Services                                                                      $3,701.05
       Telecom Expense Management Services                                                     $0.00




   *** Please see additional tabs for more details.




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